41410459.1.41

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MOTION FOR JUDICIAL NOTICE OF CASE PRECEDENTS AND PRICE TOWER
ARTS CENTER TAX RECORDS ESTABLISHING PRIMA FACIE EVIDENCE OF
EXCESS BENEFIT TRANSACTIONS, PUBLIC BRIBERY, BREACH OF FIDUCIARY
DUTY, AND FALSE STATEMENTS BY CYNTHIA BLANCHARD, INSIDERS,
COUNSEL, AND TRUSTEE

EXHIBIT

“RB”

To Follow...

E UNITED STATES BANKRUPTCY COURT FOR
THE NORTHERN DISTRICT OF OKLAHOMA
RE: GREEN COPPER HOLDINGS, LLC (EIN
Case No.: 25-1 0088-T
# xx-xxx9708 ) CASE NO, 25-10088-T
Chapter 7

PRICE TOWER ARTS CENTER INC. TAX RETURN For Year Ending 2022

TIN: XX-XXXXXXX

Also readily available online at:

https://apps.irs.gov/pub/epostcard/cor/731280004_ 202212 990 202311072187425
Zpdf
efile GRAPHIC pri

Page 2 of 16

-n990

& Under section 501(c), 527, or 4947(a)(1) of the Internal Revenue Code (except private foundations)
x » Do not enter social security numbers on this form as it may be made public.

Department of the » Go to www. /rs.qgov/Form990 for instructions and the latest information.

Treasury

bat LE s.

Return of Organization Exempt From Income Tax

OMB No, 1545-0047

2022

fey TT kom elite

A Ga) elec dreya

C Name of organization

B Check if applicable: 9” peice TOWER ARTS CENTER INC

Address change
O Name change

A For the 2022 calendar year, or tax year beginning 01-01-2022 _, and ending 12-31-2022

D Employer identification number

XX-XXXXXXX

D initial return Doing business as

O Final return/terminated

Number and street (or P.O. box if mail is not delivered to street address)

Cl Amended return
510 SE DEWEY AVE

O Application pending
-

Room/suite

E Telephone number

(918) 336-4949

City or town, state or province, country, and ZIP or foreign postal code
BARTLESVILLE, OK 74003

G Gross receipts $ 696,876

F Name and address of principal officer:
BRAD DOENGES

PO BOX 2464

BARTLESVILLE, OK_74005

[I Tax-exempt status:

MI sotceyeay CO soscey( ) dtinsert no.) (1 4947¢a)(1) or [1 527

J Website: ® WWW.PRICETOWER.ORG

H(a) Is this a group return for

subordinates?

[ives M1No
Are all subordinates
A(b) included? Ores Fo

If "No," attach a list. See instructions.
H(c) Group exemption number >

K Form of organization: Vv] Corporation Oo Trust Oo Association O Other P

L Year of formation: 1998 | M State of legal domicile: OK

Summary

1 Briefly describe the organization’s mission or most significant activities:

TO PROVIDE LOCAL, REGIONAL AND NATIONAL AUDIENCES WITH A MUSEUM DEDICATED TO THE DISPLAY OF ART, ARCHITECTURE AND

x DESIGN; AND TO PRESERVE AND INTERPRET THE PRICE TOWER, FRANK LLOYD WRIGHT'S ONLY BUILT SKYSCRAPER.
&
E
5 2 Check this box » C1 if the organization discontinued its operations or disposed of more than 25% of its net assets.
S 3 Number of voting members of the governing body (Part VI, line 1a) «1 2 we ce 3
% 4 Number of independent voting members of the governing body (Part VI, line 1b) . 2. .« «1 4
& 5 Total number of individuals employed in calendar year 2022 (PartV, line 2a) . 2 1 1 oe 5
oS 6 Total number of volunteers (estimate if necessary) . «© » «© «© «© «© » yo ee 6
< 7a Total unrelated business revenue from Part VIH, column (C), fine 12 . 2 6 ew ke le 7a 0
b Net unrelated business taxable Income from Form 990-T, Part I, line 11 1. «5 «© 5 5 «© «© 8 8 7b
Prior Year Current Year
a 8 Contributions and grants (Part Vill, line th) . 1 2 2 oe ee 260,676) 344,861
E 9 Program service revenue (Part Vill, line2g) .  . «2 8 8 8 99,079 181,612
z 10 Investment income (Part VII, column (A), lines 3,4,and7d) . 2. «» « 2,727 1,346
11° Other revenue (Part Vill, column (A), lines 5, 6d, 8c, 9c, 10c, and 11e) 33,042 168,101
12 Total revenue—add lines 8 through 11 (must equal Part VIL, column (A), line 12) 395,524) 695,920
13. Grants and similar amounts paid (Part IX, column (A), lines 1-3) . 2. 5 0
14 Benefits paid to or for members (Part IX, column (A), line 4) 2. 2 1 5 1 0
g 15 Salaries, other compensation, employee benefits (Part 1X, column (A), lines 5-10) 213,921 230,164
Y | 16a Professional fundraising fees (PartIX, column (A), linelle) . . . « « 0
S b Total fundraising expenses (Part IX, column (D), line 25) 5,074
i 17 Other expenses (Part [X, colurnn (A), lines Lla-i1d, 11f-24e) . 1. . 503,939 645,694
18 Total expenses. Add lines 13-17 (must equal Part 1X, column (A), line 25) 717,860 875,858
19 Revenue less expenses. Subtract line 18 fromline 12. «© » 2» «© «© 5 -322,336) -179,938
8 3 Beginning of Current Year End of Year
o
33 20 Total assets (PartX, line 16) . 0. 1 ww ee lt 2,762,382 2,904,174
=3 21 Total liabilities (Part X, line 26) . 0. ke ew 280,428 609,156
zi 22 Net assets or fund balances. Subtract line 2i from line 20 . 1. « 2 1 2,481,954 2,295,018

Signature Block

Under penaities of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my

knowledge and belief, it is true, correct, and complete, Declaration of preparer (other than officer) is based on all information of which preparer has

any knowledge.

Fe 2023-05-03
. Signature of officer Date
Sign
Here BRAD DOENGES PRESIDENT
Type or print name and title
Print/Type preparer's name Preparer's signature Date oO | PTIN
. 2023-08-24 | Check if | poo121285
Paid self-employed
irm': STOTTS ARC Cc irm's EL XX-XXXXXXX
Preparer Firm's name & STOTTS ARCHAMBO MUEGGENBORG & BARCLAY P Firm's ELN
Use Only Firm's address ® 302 SE OSAGE AVE Phone no. (918) 336-0008 :
BARTLESVILLE, OK 740033931

May the IRS discuss this return with the preparer shown above? (see instructions) . . .

Myes Cine :

For Paperwork Reduction Act Notice, see the separate instructions.

Cat. No, 11282Y Form 990 (2022) i
Form 990 (2022) Case 25-10088-T Document 91-3 Filed in USBC ND/OK on 04/15/25 Page Aef16
Statement of Program Service Accomplishments

8 Check if Schedule O contains a response or note to any line inthis PartIl . oo. 0. 1 on oe ew O
12 Briefly describe the organization’s mission:

TG PROVIDE LOCAL, REGIONAL AND NATIONAL AUDIENCES WITH A MUSEUM DEDICATED TO THE DISPLAY OF ART, ARCHITECTURE AND DESIGN;
AND TO PRESERVE AND INTERPRET THE PRICE TOWER, FRANK LLOYD WRIGHT'S ONLY BUILT SKYSCRAPER,

2 Did the organization undertake any significant program services during the year which were not listed on
the prior Form 990 or 990-EZ?_ wg ek ee Flves Mino
If "Yes," describe these new services on Schedule O.

3 Did the organization cease conducting, or make significant changes in how it conducts, any program
services? . oo. wee a Clyes Mino
If "Yes," describe these changes on Schedule O.

4 Describe the organization's program service accomplishments for each of its three largest program services, as measured by expenses.
Section 501(c)(3) and 501(c)(4) organizations are required to report the amount of grants and allocations to others, the total
expenses, and revenue, if any, for each program service reported,

4a = (Code: ) (Expenses $ 828,469 including grants of $ ) (Revenue $ 181,612 )
See Additional Data

4b = (Code: ) (Expenses $ Inctuding grants of $ ) (Revenue $ }

4c (Code: ) (Expenses $ including grants of $ ) (Revenue $ )

4d = Other program services (Describe in Schedule 0.)
(Expenses $ including grants of $ ) (Revenue $ )

4e Total program service expenses P» 828,469

Form 990 (2022)
Form 990 (2022) Case 25-10088-T Document 91-3 Filed in USBC ND/OK on 04/15/25 Page 49616
Checklist of Required Schedules

3 Yes No
to
4 Is the organization described in section 501(c)(3) or 4947(a)(1) (other than a private foundation)? If "Yes," complete Yes
= ScheduleAS . 2 wv we ke ek kk ke 1
2 Is the organization required to complete Schedule B, Schedule of Contributors? See instructions, wo. 2 Yes
3 Did the organization engage in direct or indirect political campaign activities on behalf of or in opposition to candidates No
for public office? If "Yes," complete Schedule C, Parth . 1. 1 0 8 1 8 we we te we 3
4 Section 501(c)(3) organizations. Did the organization engage in lobbying activities, or have a sectlon 501(h)
election in effect during the tax year? If "Yes,".complete Schedule C, ParttH «2 «2 1» « «6 «© a» 29 48 4 No
5 Is the organization a section 501(c)(4), 501(c)(5), or 501(c)(6) organization that receives membership dues,
assessments, or similar amounts as defined in Rev. Proc. 98-19? If "Yes," complete Schedule C, Part ili. . 5 No
6 Did the organization maintain any donor advised funds or any similar funds or accounts for which donors have the right
to provide advice on the distribution or investment of amounts in such funds or accounts? If "Yes," complete N
Schedule D,Pat|. 6. 6 ke ee ee ee ek ee ke ee LC °
7 Did the organization receive or hold a conservation easement, including easements to preserve open space, N
the environment, historic land areas, or historic structures? If "Yes," complete Schedule D, Part II wo, 7 °
8 Did the organization maintain collections of works of art, historical treasures, or other similar assets? If "Yes," 8 Yes
complete Schedule D, Part II! BW ke
9 Did the organization report an amount in Part X, line 21 for escrow or custodial account liability; serve as a custodian
for amounts not listed in Part X; or provide credit counseling, debt management, credit repair, or debt negotiation N
services? If "Yes," complete Schedule D, Part IV BW ek 9 °
10 Did the organization, directly or through a related organization, hold assets in temporarily restricted endowments, 10 Yes
permanent endowments, or quasi endowments? If "Yes," complete Schedule D, Part V Bo...
11. If the organization’s answer to any of the following questions is "Yes," then complete Schedule D, Parts VI, VII, VIII, [X,
or X, as applicable.
a_ Did the organization report an amount for land, buildings, and equipment in Part X, line 10? If "Yes," complete y
Schedule D,PatvV. WW... oe ee eee iia es
b Did the organization report an amount for investments—other securities in Part X, line 12 that is 5% or more of its total N
assets reported in Part X, line 16? If "Yes," complete Schedule D, Part Vil Bo... ea 11b °
c Did the organization report an amount for investments—program related in Part X, line 13 that is 5% or more of its N
total assets reported in Part X, line 16? If "Yes," complete Schedule D, Part Vill Bo... lic °
d_ Did the organization report an amount for other assets in Part X, fine 15 that is 5% or more of its total assets reported N
in Part X, line 16? If "Yes," complete Schedule D, Pat IX@ 2. 1. uke a lid °
@ Did the organization report an amount for other liabilities in Part X, line 25? If "Yes," complete Schedule D, Part X %) tie! Yes
f Did the organization’s separate or consolidated financial statements for the tax year include a footnote that addresses
the organization's liability for uncertain tax positions under FIN 48 (ASC 740)? If "Yes," complete Schedule D, Part X @)! raf No
12a Did the organization obtain separate, independent audited financial statements for the tax year? If "Yes," complete
Schedule D, PartsXIandXU@) we ee 12a No
b Was the organization included in consolidated, independent audited financial statements for the tax year? 12b No
If "Yes," and if the organization answered "No" to line 12a, then completing Schedule D, Parts XI and XII is optional me)
13 Is the organization a school described in section 170(b)(1)(A)(ii)? IF "Yes," complete Schedule E 12 No
14a Did the organization maintain an office, employees, or agents outside of the United States? . . 1. « + 14a No
b Did the organization have aggregate revenues or expenses of more than $10,000 from grantmaking, fundraising,
business, investment, and program service activities outside the United States, or aggregate foreign investments
valued at $100,000 or more? If "Yes," complete Schedule F, PartsIandIV. . . woe ee 14b No
15 Did the organization report on Part IX, column (A), line 3, more than $5,000 of grants or other assistance to or for any
foreign organization? If “Yes,” complete Schedule F, Parts IIandIV . 1. . «2 « 15 No
16 Did the organization report on Part IX, column (A), line 3, more than $5,000 of aggregate grants or other assistance to
' or for foreign individuals? If "Yes,” complete Schedule F, Parts IIandIV. . . 16 No
17 Did the organization report a total of more than $15,000 of expenses for professional fundraising services on Part IX, 17 No
column (A), lines 6 and 11e? If “Yes,” complete Schedule G, Parti. See instructions. . . . .
18 Did the organization report more than $15,000 total of fundraising event gross income and contributions on Part VIII,
lines 1c and 8a? If "Yes," complete Schedule G, Partll «1 1 5 we 18 No
19 Did the organization report more than $15,000 of gross income from gaming activities on Part VIII, line 9a? IF “Yes,”
complete Schedule G, Partill «6 uu ee a 19 No
20a Did the organization operate one or more hospital facilities? If "Yes," complete ScheduleH . « » . 20a No
b If "Yes" to line 20a, did the organization attach a copy of its audited financial statements to this return? 20b
21 Did the organization report more than $5,000 of grants or other assistance to any domestic organization or domestic 21 No
government on Part IX, column (A), fine 1? Jf "Yes,” complete Schedule I, PartsIandIT . 1. .« «

Form 990 (2022)
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Checklist of Required Schedules (continued)

2 Yes No
ww
22 Did the organization report more than $5,000 of grants or other assistance to or for domestic individuals on Part IX, 22
= column (A), line 2? If “Yes,” complete Schedule I, PartsIandHI . . « « «20 « « 4 No
23 Did the organization answer "Yes" to Part VII, Section A, line 3, 4, or 5, about compensation of the organization's
current and former officers, directors, trustees, key employees, and highest compensated employees? If “Yes,” 23 No
complete Schedule} . 2 we ew
24a Did the organization have a tax-exempt bond issue with an outstanding principal amount of more than $100,000 as of
the last day of the year, that was issued after December 31, 2002? If “Yes,” answer lines 24b through 24d and
complete Schedule K. If"No,”gotoline25a . 1 1 8 uw 24a No
b Did the organization invest any proceeds of tax-exempt bonds beyond a temporary period exception? . . . 24b
c Did the organization maintain an escrow account other than a refunding escrow at any time during the year
to defease any tax-exempt bonds? . 1 1 1s uw ee 24c
d_ Did the organization act as an “on behalf of" issuer for bonds outstanding at any time during the year? . . 24d
25a Section 501(c)(3), 501(c)(4), and 501(c)(29) organizations. Did the organization engage in an excess benefit
transaction with a disqualified person during the year? If "Yes," complete Schedule L, Partl . . 25a No
b Is the organization aware that it engaged in an excess benefit transaction with a disqualified person in a prior year, and
that the transaction has not been reported on any of the organization’s prior Forms 990 or 990-EZ? If "Yes," complete | 25b No
Schedule Ll, Part] «6 8 eee a
26 Did the organization report any amount on Part X, line 5 or 22 for receivables from or payables to any current or former,
officer, director, trustee, key employee, creator or founder, substantial contributor, or 35% controlled entity or family 26 No
member of any of these persons? If "Yes," complete Schedule L, Partil . 2 «© 5» «8 «© » «© «© 3
27 Did the organization provide a grant or other assistance to any current or former officer, director, trustee, key
employee, creator or founder, substantial contributor, or employee thereof, a grant selection committee member, or to | 97 No
a 35% controlled entity (including an employee thereof) or family member of any of these persons? If "Yes," complete
Schedule L,Partll . 6. 08 ee
28 Was the organization a party to a business transaction with one of the following parties (see the Schedule L, Part IV
instructions for applicable filing thresholds, conditions, and exceptions):
a Acurrent or former officer, director, trustee, key employee, creator or founder, or substantial contributor? If “Yes,”
complete Schedule L, PartiV . 1 uu uw er
28a No
b A family member of any individual described in line 28a? If "Yes," complete Schedule L, PartIV . .
28b No
¢ A 35% controlled entity of one or more individuals and/or organizations described in line 28a or 28b? If "Yes," complete
ScheduleL, PartIV. 6 6 wk ee ee ee 28c No
29 Did the organization receive more than $25,000 in non-cash contributions? If "Yes," complete ScheduleM . . 29 No
30 Did the organization receive contributions of art, historical treasures, or other similar assets, or qualified conservation
contributions? If "Yes," cornplete ScheduleM . « « =» 5 «© «© © «© 8 ££ @ 8 « « 8 ¢ 30 No
31 Did the organization liquidate, terminate, or dissolve and cease operations? If "Yes," complete Schedule N, Part! 31 N
°
32 Did the organization sell, exchange, dispose of, or transfer more than 25% of its net assets? If "Yes," complete
ScheduleN, Patil... ut ee ke ke ek kk ee ee ee ee 32 No
33 Did the organization own 100% of an entity disregarded as separate from the organization under Regulations sections
301.7701-2 and 301.7701-3? If "Yes," complete Schedule R, Parth . «1 1 8 ut 33 No
34 Was the organization related to any tax-exempt or taxable entity? If "Yes," complete Schedule R, Part Il, IIT, or IV, and
: 34 No
ParntV, lined 2 6 6 ee a lk
35a Did the organization have a controlled entity within the meaning of section 512(b)(13)? 35a No
b If ‘Yes’ to line 35a, did the organization receive any payment from or engage in any transaction with a controlled entity
within the meaning of section 512(b)(13)? If "Yes," complete Schedule R, PartV, line2 . . | 35b
36 Section 501(c)(3) organizations, Did the organization make any transfers to an exempt non-charitable related
organization? If "Yes," complete Schedule R, PartV, line2 » 1 1 0 we 8 we ew 36 No
37 Did the organization conduct more than 5% of its activities through an entity that is not a related organization and that
is treated as a partnership for federal income tax purposes? If “Yes,” complete Schedule R, Part Vi 37 No
38 Did the organization complete Schedule O and provide explanations on Schedule O for Part VI, lines 11b and 19? Note.
All Form 990 filers are required to complete Schedule O. 2 2 ww we 3s | Yes
Statements Regarding Other IRS Filings and Tax Compliance
Check if Schedule O contains a response or note to any line inthis PatV . . 3. . . « 6 » 2 «4 O
Yes No
la Enter the number reported in box 3 of Form 1096. Enter -0- if not applicable . . la
b Enter the number of Forms W-2G included on line 1a. Enter -0- if not applicable. 1b
c Did the organization comply with backup withholding rules for reportable payments to vendors and reportable gaming
(gambling) winnings to prize winners? «© wwe 1c

Form 990 (2022)
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Statements Regarding Other IRS Filings and Tax Compliance (continued)

Ba Enter the number of employees reported on Form W-3, Transmittal of Wage and
© Tax Statements, filed for the calendar year ending with or within the year covered by
= thisreturn . 6 ee ee ee 2a 7
b If at least one is reported on line 2a, did the organization fiie all required federal employment tax returns? 2b Yes
Note. If the sum of lines 1a and 2a fs greater than 250, you may be required to e-file. See instructions.
3a Did the organization have unrelated business gross income of $1,000 or more during the year? . . . 3a No
b If “Yes,” has it filed a Form 990-T for this year?If "No” to line 3b, provide an explanation in ScheduleO . . . 3b
4a At any time during the calendar year, did the organization have an interest in, or a signature or other authority over, a | 4a No

financial account in a foreign country (such as a bank account, securities account, or other financial account)? . .
b If "Yes," enter the name of the foreign country: >.
See instructions for filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR).

5a Was the organization a party to a prohibited tax shelter transaction at any time during the tax year? . . 5a No
b Did any taxable party notify the organization that it was or is a party to a prohibited tax shelter transaction? 5b No
c If "Yes," to line 5a or 5b, did the organization file Form 8886-T? . . . + «© «© # «© «© © @ 4 5c

6a Does the organization have annual gross receipts that are normally greater than $100,000, and did the organization 6a No

solicit any contributions that were not tax deductible as charitable contributions? . . .

b If "Yes," did the organization include with every solicitation an express statement that such contributions or gifts were
Not tax deductible? 2. 2 8 we et 6b

7 Organizations that may receive deductible contributions under section 170(c),

a_ Did the organization receive a payment in excess of $75 made partly as a contribution and partly for goods and services| 7a No
provided to the payor? 2. 1 6 8 wet
b If "Yes," did the organization notify the donor of the value of the goods or services provided? . . . «© + 7b
ce Did the organization sell, exchange, or otherwise dispose of tangible personal property for which it was required to file
Form 8282? . «5 nw ew ee 7c No
d_ If "Yes," indicate the number of Forms 8282 filed during the year . 1. . . | 7d |

e Did the organization receive any funds, directly or indirectly, to pay premiums on a personal benefit contract?

7e No
f Did the organization, during the year, pay premiums, directly or indirectly, on a personal benefit contract? . . 7f No
g If the organization received a contribution of qualified intellectual property, did the organization file Form 8899 as
required? . 1 0 8 ue ew 79 No
h_ If the organization received a contribution of cars, boats, airplanes, or other vehicles, did the organization file a Form
LO9B-CP we 7h No
8 Sponsoring organizations maintaining donor advised funds. Did a donor advised fund maintained by the
sponsoring organization have excess business holdings at any time during the year? . . . 2 ws a a 8 No
9 Sponsoring organizations maintaining donor advised funds.
a_ Did the sponsoring organization make any taxable distributions under section 4966? . 2. 2 5 1 a a a 9a No
b Did the sponsoring organization make a distribution to a donor, donor advisor, or related person? . . . 9b No
10 Section 501(c)(7) organizations. Enter:
a_ Initiation fees and capital contributions included on Part Vill, line 12 . 1 . 10a
b Gross receipts, included on Form 990, Part VIII, line 12, for public use of club facilities 10b
11 Section 501(c)(12) organizations. Enter:
a Gross income from members or shareholders 2. « « «© «© 2 «8 «@ 2 lia
Gross income from other sources. (Do not net amounts due or paid to other sources
against amounts due or received from them.) . « «© «© «© «© «© «© «© e 11b
12a Section 4947(a)(1) non-exempt charitable trusts, Is the organization filing Form 990 in lieu of Form 1041? 12a
b If "Yes," enter the amount of tax-exempt interest received or accrued during the year. 12b
13 Section 501(c)(29) qualified nonprofit health insurance issuers,
a Is the organization ticensed to issue qualified health plans in more than one state? . 1. «© « © «© «© o 4 13a
Note. See the instructions for additional information the organization must report on Schedule O. :
b_ Enter the amount of reserves the organization is required to maintain by the states in
which the organization is licensed to issue qualified health plans . . « + 13b
c Enterthe amount ofreservesonhand . . «© «© «§ 5 «© 3 «© 5 a 14 13c
14a Did the organization receive any payments for indoor tanning services during the tax year?» 1 wa 14a No
b If "Yes," has it filed a Form 720 to report these payments?If "No," provide an explanation in ScheduleO . . 14b
15 Is the organization subject to the section 4960 tax on payment(s) of more than $1,000,000 in remuneration or excess
parachute payment(s) during the year?» wwe 15 No
If "Yes," see the instructions and file Form 4720, Schedule N.
16 Is the organization an educational institution subject to the section 4968 excise tax on net investment income?. . 16 No
If "Yes," complete Form 4720, Schedule O.
17 Section 501(c)(21) organizations. Did the trust, any disqualified person, or other person engage in any activities 17

that would result in the imposition of an excise tax under section 4951, 4952, or 4953?. .
If "Yes," complete Form 6069,

Form 990 (2022)
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Governance, Management, and Disclosure. For each "Yes" response to lines 2 through 7b below, and for a "No" response to

lines 8a, 8b, or 10b below, describe the circumstances, processes, or changes in Schedule O. See instructions.
2 Check if Schedule O contains a response or note to any linein this ParttVl . 0. 2 0. 8 oe ew mM
ssection A. Governing Body and Management
~ Yes No
1a Enter the number of voting members of the governing body at the end of the tax year la 8
If there are material differences in voting rights among members of the governing
body, or if the governing body delegated broad authority to an executive committee or
similar committee, explain in Schedule O.
b_ Enter the number of voting members included in line 1a, above, who are independent
1b 8
2. Did any officer, director, trustee, or key employee have a family relationship or a business relationship with any other
officer, director, trustee, or key employee? 2 we 2 No
3. Did the organization delegate control over management duties customarily performed by or under the direct supervision 3 No
of officers, directors or trustees, or key employees to a management company or other person?
4 Did the organization make any significant changes to its governing documents since the prior Form 990 was filed? . 4 No
5 Did the organization becorne aware during the year of a significant diversion of the organization’s assets? . 5 No
6 Did the organization have members or stockholders? . 2. «8 et ee 6 No
7a Did the organization have members, stockholders, or other persons who had the power to elect or appoint one or more
members of the governing body? 2.» ww et 7a No
b Are any governance decisions of the organization reserved to (or subject to approval by) members, stockholders, or 7b No
persons other than the governing body? 2. 4 «© 5 8 @ 8 n 8 ee ee lt
8 Did the organization contemporaneously document the meetings held or written actions undertaken during the year by
the following:
a The governing body? 2. 2 6. 1 8 ee ee 8a Yes
b Each committee with authority to act on behalf of the governing body? .  . » «© «© «1 «5 «© «© «© «© 8b Yes
9 Is there any officer, director, trustee, or key employee listed in Part VII, Section A, who cannot be reached at the
organization’s mailing address? If "Yes," provide the names and addresses in ScheduleO . . « « «2 «© 4 9 Yes
Section B. Policies (This Section B requests information about policies not required by the Internal Revenue Code.)
Yes No
10a Did the organization have locai chapters, branches, or affiliates? 2. 2 6 2 © 28 «© =» © a 4 10a No
b If "Yes," did the organization have written policies and procedures governing the activities of such chapters, affiliates,
and branches to ensure their operations are consistent with the organization's exempt purposes? 10b
11a Has the organization provided a complete copy of this Form 990 to all members of its governing body before filing the
form? 6 eek a a a dP La No
b Describe on Schedule O the process, if any, used by the organization to review this Form 990. . . . « .
12a Did the organization have a written conflict of interest policy? If “No,"gotolinei? . . «6 « « « 4 12a| Yes
b Were officers, directors, or trustees, and key employees required to disclose annually interests that could give rise to
conflicts? 2. ew 12b| Yes
c Did the organization regularly and consistently monitor and enforce compliance with the policy? If "Yes," describe on
Schedule O how this was done. 1 6 8 we 12c No
13. Did the organization have a written whistleblower policy? . 1 2 2 8 8 ee 13 Yes
14 Did the organization have a written document retention and destruction policy? .  . » »« «© + «© «© « 14 | Yes
15 Did the process for determining compensation of the following persons include a review and approval by independent
persons, comparability data, and contemporaneous substantiation of the deliberation and decision?
a The organization’s CEO, Executive Director, or top management official . 2. 1 1 8 8 oe we 15a No
Other officers or key employees of the organization 2. 6 1 uw we ll 15b No
If "Yes" to line 15a or 15b, describe the process on Schedule O, See instructions.
16a Did the organization invest in, contribute assets to, or participate in a joint venture or similar arrangement with a
taxable entity during the year? 2. wu ew 16a No
b If"Yes," did the organization follow a written policy or procedure requiring the organization to evaluate its participation
in joint venture arrangements under applicable federal tax law, and take steps to safeguard the organization’s exempt
status with respect tosuch arrangements? . .« . «© «© 5 5 «© «© «© 5 4 16b

Section C. Disclosure
17 List the states with which a copy of this Form 990 is required to be filed>

18 Section 6104 requires an organization to make its Form 1023 (1024 or 1024-A, if applicable), 990, and 990-T (section
501(c)(3)s only) available for public inspection. Indicate how you made these available. Check all that apply.
CO own website [1 Another's website MI Upon request CJ other (explain in Schedule 0)

19 Describe in Schedule O whether (and if so, how) the organization made its governing documents, conflict of interest
policy, and financial statements available to the public during the tax year.

20 State the name, address, and telephone number of the person who possesses the organization's books and records:
DONNA KEFFER PO BOX 2464 BARTLESVILLE, OK 74005 (918) 336-4949

Form 990 (2022)
Form 990 (2022) Case 25-10088-T Document 91-3 Filed in USBC ND/OK on 04/15/25 Page Pfaiz16

Compensation of Officers, Directors, Trustees, Key Employees, Highest Compensated Employees,

and Independent Contractors

_ Check if Schedule O contains a response or note to any line inthis PartVH . 0. ee ee oO
ection A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees

1a Complete this table for all persons required to be listed. Report compensation for the calendar year ending with or within the organization's tax

year.

@ List all of the organization’s current officers, directors, trustees (whether individuals or organizations), regardless of amount
of compensation. Enter -0- in columns (D), (E), and (F) if no compensation was paid.

@ List all of the organization’s current key employees, if any. See the instructions for definition of "key employee."

@ List the organization’s five current highest compensated employees (other than an officer, director, trustee or key employee)
who received reportable compensation (box 5 of Form W-2, box 6 of Form 1099-MISC, and/or box 1 of Form 1099-NEC) of more than $100,000 from
the organization and any related organizations.

@ List all of the organization’s former officers, key employees, or highest compensated employees who received more than $100,000
of reportable compensation from the organization and any related organizations.

@ List all of the organization’s former directors or trustees that received, in the capacity as a former director or trustee of the
organization, more than $10,000 of reportable compensation from the organization and any related organizations.

See the instructions for the order in which to list the persons above.

10459.1

Check this box if neither the organization nor any related organization compensated any current officer, director, or trustee.

(A) (B) (Cc) (D) (E) (F)

Name and title Average Position (do not check more Reportable Reportable Estimated
hours per | than one box, unless person | compensation compensation | amount of other
week (list is both an officer and a from the from related compensation
any hours director/trustee) organization organizations from the
for related "5 x ox (W-2/1099- (W-2/1099- organization and

fyati 3/= un
organizations | 7 & } 5 g © 26 |e MISC/1099- MISC/1099- related
below dotted| 22 |S ]o[F (Bz 1s NEC) NEC) organizations
. pale |& Qo |
line) =| 82/8 |" 13 [28 | 8
G2) 2 2lao
Te |S 2
oe} S =
ele] [Fl 3
eo} 2
E a
c
(1) DANIEL ADAMS
vee eunasseaaseuaaeecoenenctaneesnenneneeee Vevaeescentesteneeesensesesn|  UUUEEErtnnrens |X X 0 0 0
TRUSTEE
(2) CHARLIE DANIELS
cccneeescuamnnvssnpcenauasaenansanagsegun veveusecneapertecnevoenresen|  TUETEPEEEAEHOGEES x xX 0 0 0
SECRETARY
(3) BRAD DOENGES
ceecaeeeeeeneceeuenseseressusesnenseceoeseseaseosssssesecuserententeas ' " xX X 0 0 0
PRESIDENT
(4) MARK HASKELL
peuneeneenesseuseensteneaecnueosseneeensenssaeusssenanasaneosennentage seoveamvennenvees |  X X 0 0 0
TREASURER
(5) SCOTT HOLTZ
ee caveceeenepeneenasenanenoeesonnanesneonedsanaasauaeecneagecemeeeees sreaeuncunsrureen| 0 0 0
TRUSTEE
(6) SHERYL KAUFMAN
pecnetecaunecteaune Venennecuuatraconavanssrasmnansnsnsosoanncsaanponsa| — TTTUHERESBaHOGEES x Q 0 0
TRUSTEE
(7) SANDRA KENT
wennagnenenaane senevevencovnvatscannsenensssensnscnscoenssonssenprepen| — UCTTEOTONaEREEEE x 0 0 0
TRUSTEE
(8) SCOTT SABINE
scoseunureceesenevartanesenensenssenssenpersonecisconssvansosesnonsoen] TU ouerneneanatts xX 0 0 0
TRUSTEE

Form 990 (2022)
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Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees (continued)

3 _ (A) (B) (D) (E) (F)
3 Name and title Average Position (do not check more Reportable Reportable Estimated
x hours per than one box, unless person compensation compensation amount of other
~ week (list is both an officer and a from the from related compensation
any hours director/trustee) organization organizations from the
for related oS x lor (W-2/1099- (W-2/1099- organization and
organizations} = 3 | => g ml3e 2 MISC/1099-NEC) | MISC/1099-NEC) related
below dotted| Se | 2 /F/5 [Sz /3 organizations
line) Bele |* (3 )22/2
eae Qh Ss
= 3 a 3
2/=) le} 2
@ = D 3
rt < Tt
PTs 3
r a
a
1b Sub-Total... 1 uw ee >
c Total from continuation sheets to Part VIl,SectionA . . . . >
dTotal (addlinesibandic) . 3. .« » + 6 + «© 5 8 4 >

2 Total number of individuals (including but not limited to those listed above) who received more than $100,000

of reportable compensation from the organization »

3 Did the organization list any former officer, director or trustee, key employee, or highest compensated employee on

line 1a? If "Yes," complete Schedule J for such individual

4 For any individual listed on line 1a, is the sum of reportable compensation and other compensation from the
organization and related organizations greater than $150,000? If “Yes, '

individual » 1 uu

5 Did any person listed on line 1a receive or accrue compensation from any unrelated organization or individual for

" complete Schedule J for such

services rendered to the organization?/f "Yes," complete Schedule J forsuch person . 1» « «1 «

Yes No

No

Section B. Independent Contractors

1 Complete this table for your five highest compensated independent contractors that received more than $100,000 of compensation
from the organization. Report compensation for the calendar year ending with or within the organization’s tax year.

(A)
Name and business address

(B)

Description of services

(Cc)
Compensation

2 Total number of independent contractors (including but not limited to those listed above) who received more than $100,000 of

compensation from the organization »

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Statement of Revenue

Check if Schedule O contains a response or note to any line inthis PartVill. . . . » «© 2 «1 5» 5 5 « 6 oO
(A) (B) (Cc) (D)

Total revenue Related or Unrelated Revenue

exempt business excluded from

function revenue tax under sections

revenue §12 - 514

11410459 1.5

ila Federated campaigns . . la

o

Membership dues . ib

Fundraising events . ic

. Grants

a 64

Related organizations 1d

lat Amounts

e Government grants (contributions) le 16,100

ims

f All other contributions, gifts, grants,
and similar amounts not included tf 328,761

g Noneash contributions included In
lines 1a - if:¢ ig

h Total. Add Ines fa-1f . ww et 344,861

Contributions, Gi
and Other S'

Business Code

2a SPECIAL EVENTS 120,549 120,549

b ADMISSIONS & CLASS FEES 29,846 29,846

c MISCELLANEOUS INCOME 19,717, 19,747)

d MEMBERSHIP DUES 11,500 11,500

Program Service Revenue

f All other program service revenue.

9 Total. Add lines 2a-2f. » 2 1 a 181,612

3 Investment income (including dividends, interest, and other
similaramounts) . . .« «© « «

4 Income from Investment of tax-exempt bond proceeds >

1,346 324 1,025

SRoyalties . 1. 1 2 ew ee >

(i) Real (ii) Personal

6a Gross rents 6a 72,005

b_ Less: rental
expenses 6b

c_ Rental Income
or (loss) 6c 72,005)

d Net rental income or (loss). 6 se eee 72,005) 72,005
(i) Securities (ii) Other

7a Gross amount
from sales of 7a
assets other
than inventory

b Less: cost or
other basis and 7b
sales expenses

c. Gain or (loss) 7e¢

d Netgainor(loss) . . » « 1 « 5 @ >

8a Gross income from fundraising events
{not including $ of
contributions reported on line ic),
See PartlV,linei8 . sue Ba

bLess: directexpenses . . 1. 8b
c Net income or (loss) from fundraising events. . >

Other Revenue

9a Gross Income from gaming activites.
See PartlV, line 19 . 1. 9a

bLess: direct expenses . . 9b
ce Net income or (loss) from gaming activities .  . >

10aGross sales of inventory, less
returns and allowances . 10a 25,940

bLess: cost of goods sold . . 10b 956
> 24,984 24,984|

c Net income or (loss) from sales of inventory . .
Miscellaneous Revenue Business Code

11aQTHER INCOME 71,112 7A, 112

dAllotherrevenue . . . .
eTotal. Add lines iia-lld . 1 . 1 st >

71,112!

12 Total revenue. See instructions . . . « « > 695,920 278,029 73,030
, 7

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Fara Statement of Functional Expenses
Section 501(c)(3) and 501(c)(4) organizations must complete all columns. All other organizations must complete column (A).

3
S Check if Schedule O contains a response or note to any line inthis PartIX . 2. ue i i O
BY not include amounts reported on lines 6b, (A) progratn service Monagement and Fundraising
7b, 8b, 9b, and 10b of Part Vill. Total expenses expenses general expenses expenses
1 Grants and other assistance to domestic organizations and
domestic governments, See PartlV, line 21 . 1. « .
2 Grants and other assistance to domestic individuals. See
PartlV, line22  . «ew ew
3 Grants and other assistance to foreign organizations, foreign
governments, and foreign individuals. See Part !V, lines 15
andi6. 2. 6 8 ee
4 Benefits paidto orformembers . . «» 2 1 «© 4
5 Compensation of current officers, directors, trustees, and
key employees . 1. 2 0 8 a © @ @ @ 8
6 Compensation not included above, to disqualified persons (as
defined under section 4958(f)(1)) and persons described in
section 4958(c)(3)(B) .  » « 6 «» «© «© «© 18
7 Othersalaries and wages . . . 2 1 ew ue 199,658 199,658
8 Pension plan accruals and contributions (include section 401
(k) and 403(b) employer contributions) . . .«
9 Otheremployee benefits . . . » «© « « 9,303 9,303
10 Payrolitaxes . 1. » 1 5 oe a 8 21,203 21,203
11 Fees for services (non-employees):
aManagement . . «. +» « « 2,675 1,926 669 8a
blegal . . 2. 1 ee et
cAccounting . . 2» «© «© © © «© © 2 6 21,779 15,681 5,445 653
dLlobbying . . 2. «2 wo 8 ) aw at es
e Professional fundraising services. See Part IV, line 17
f Investment management fees . . . .
g Other (If line 11g amount exceeds 10% of line 25, column 268 268
(A) amount, list line Lig expenses on Schedule O)
12 Advertising and promotion . . . . 33,782 33,782
13 Office expenses . 2. « «© « 2 3,675 3,675
14 Information technology . . » «© «© 1 8,933 8,933
15 Royalties . .
16 Occupancy 2. 2 ww es wt 391,214 394,214
17 Travel . ww ee 227 227
18 Payments of travel or entertainment expenses for any
federal, state, or local public officials.
19 Conferences, conventions, and meetings . . «=
20 Interest . 1 1 8 wk le 18,830 18,830
21 Payments to affiliates . . «© . . 2 oe
22 Depreciation, depletion, and amortization . . 94,812 69,355 22,731 2,726
23 Insurance . . . 232 232
24 Other expenses. Itemize expenses not covered above (List
miscellaneous expenses in line 24e. If line 24e amount
exceeds 10% of line 25, column (A) amount, list line 24e
expenses on Schedule 0.)
a BANKING EXPENSES 16,377 11,792 4,094 491
b PROGRAMS & EXHIBITS 15,397 15,397
c RENTAL/LEASE 11,278 8,120 2,820 338
d MISCELLANEOUS 7,626 5,490 1,907 229
e All other expenses 18,589 13,383 4,649 557
25 Total functional expenses. Add lines 1 through 24e 875,858 828,469 42,315 5,074

26

Joint costs, Complete this line only if the organization
reported in column (B) joint costs from a combined
educational campaign and fundraising solicitation.

Check here > CI it following SOP 98-2 (ASC 958-720).

Form 990 (2022)
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een Balance Sheet

_8 Check if Schedule O contains a response or note to any linein this ParttIX . 0. 0. on yk O
¢ (A) (B)
Beginning of year End of year
1 Cash-non-interest-bearing . 1. «© 1 «© «© «© « 8,337) 1 23,655
2 Savings and temporary cashinvestments . . « 2. 5 »© «© «a 4 1,148) 2 9,304
3 Pledges and grants receivable, net . . . » «a 4 3
4 Accountsreceivable,net . ». «© «© «© «© «© © «© «© aw 8 5 2,907] 4 2,907
5 Loans and other receivables from any current or former officer, director,
trustee, key employee, creator or founder, substantial contributor, or 35% 5
controlled entity or family member of any of these persons
6 Loans and other receivables from other disqualified persons (as defined under
section 4958(f)(1)), and persons described in section 4958(c)(3)(B). . . 6
w| 7 Notes andloansreceivable,net .  . 21 1 2 «2 © © 2 @ 2 1,473,270| 7 1,678,709
on
2 8 Inventoriesforsaleoruse . «6 2 5 «© «© © © © we 824| 8 824
< 9 Prepaid expenses and deferred charges . . 1 «2 «© 9
10a_ Land, buildings, and equipment: cost or other
basis. Complete Part VI of Schedule D 10a 4,030,005
b Less: accumulated depreciation 10b 2,906,244 1,204,701] 10¢ 1,123,761
11  Investments—publicly traded securities . 70,695} 11 64,514
12 Investments—other securities. See PartlV, fine11 . . . « 4 12
13 = Investments—program-related. See PartlV, line 11. . 13
14 Intangibleassets . . 2. 5 ys 8 w@ © © 2» © «© @ 8 2 14
15 Otherassets.SeePartlV, line lt . 1 2 8 1 8 et 500) 15 500
16 Total assets. Add lines 1 through 15 (must equal line 33) . . 2,762,382) 16 2,904,174
17 Accounts payable and accrued expenses 1. . «§ «2 « 5,325| 17 1,277
18 Grantspayable . . . 18
19 Deferredrevenue . . «© 5» © © «© @ 8 19
20 Tax-exempt bond liabilities . . 1. 2. 2 1. 1 « 1 20
| 21 Escrow or custodial account liability. Complete Part IV of Schedule D 21
a
“=| 22 Loans and other payables to any current or former officer, director, trustee, key
= employee, creator or founder, substantial contributor, or 35% controlled entity
2 or family member of any ofthese persons . . » « « © © @ 4 22
—/23 Secured mortgages and notes payable to unrelated third parties . . 23
24 Unsecured notes and loans payable to unrelated third parties . . 24
25 Other liabilities (including federal income tax, payables to related third parties, 275,103] 25 607,879
and other fiabilities not included on lines 17 - 24).
Complete Part X of Schedule D
26 = Total liabilities. Add lines 17 through 25... 280,428] 26 609,156
yu
o Organizations that follow FASB ASC 958, check here P and
2 complete lines 27, 28, 32, and 33.
2 27 Netassets without donorrestrictions . . .». +» «2 « +» «© «© 4 2,481,954] 27 2,295,018
0/28 Netassets with donor restrictions »« 1. 3» 2 «© 5 «© «© vias 28
zc
s Organizations that do not follow FASB ASC 958, check here » CJ ana
u. complete lines 29 through 33.
©|29 Capital stock or trust principal, or current funds . . . . « 29
s 30 = Paid-in or capital surplus, or land, building or equipment fund . . . 30
4 31 Retained earnings, endowment, accumulated income, or other funds 31
=
s 32 Totalnetassetsorfundbalances . «© «5 «© «© «© © «© «© @ oh 2,481,954} 32 2,295,018
2/33 Total liabilities and net assets/fund balances . . «» © «© «© «© 18 2,762,382] 33 2,904,174

Form 990 (2022)
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OEE Reconcilliation of Net Assets

3 Check if Schedule O contains a response or note to any line in this PartX] » 0.) et O
3
=
= Total revenue (must equal Part Vill, column (A), line 12) 2. 2 ewe 1 695,920
2 Total expenses (must equal PartiX, column (A), line 25) 2 wwe 2 875,858
3 Revenue less expenses. Subtract line 2 fromline1 2. 2 6 8 8 et 3 -179,938
4 Net assets or fund balances at beginning of year (must equal Part X, line 32, column (A)) .  . 4 2,481,954
5 Net unrealized gains (losses) on investments . 2. 26 2 2 8 5 © «© © © «© 4 @ 2 5 -6,998
6 Donated services and use of facilities . 2. 2. 2 «© © «© 8 » © © © © © 5 6 2 6
7 Investmentexpenses . 1. 1 «2 0 8 8 8 © © 2 » b 6 0 2 8 8 w @ 4 7
8 Prior period adjustments . 2. 1 2 8 wee 8
9 Other changes in net assets or fund balances (explain in Schedule O) . . . » + + yo 9
10 Net assets or fund balances at end of year, Combine lines 3 through 9 (must equal Part X, line 32, column (B))| 10 2,295,018
eA Financial Statements and Reporting
Check if Schedule O contains a response or note to any line inthis PartXtl «0. 0. ee LC]
Yes No
1 Accounting method used to prepare the Form 990: DL] cash M Accrual DL other
If the organization changed its method of accounting from a prior year or checked "Other," explain on
Schedule O.
2a Were the organization’s financial statements compiled or reviewed by an independent accountant? 2a No
If ‘Yes,’ check a box below to indicate whether the financial statements for the year were compiled or reviewed on a
separate basis, consolidated basis, or both:
O Separate basis CJ consolidated basis C1 Both consolidated and separate basis
b Were the organization's financial statements audited by an independent accountant? 2b No
If ‘Yes,’ check a box below to indicate whether the financial statements for the year were audited on a separate basis,
consolidated basis, or both:
0 Separate basis 1 Consolidated basis [1] Both consolidated and separate basis
c If "Yes," to line 2a or 2b, does the organization have a committee that assumes responsibility for oversight
of the audit, review, or compilation of its financial staternents and selection of an independent accountant? 2c
If the organization changed either its oversight process or selection process during the tax year, explain in Schedule O.
3a As a result of a federal award, was the organization required to undergo an audit or audits as set forth in the Single
Audit Act and OMB Circular A-133? 3a
b If "Yes," did the organization undergo the required audit or audits? If the organization did not undergo the required
audit or audits, explain why in Schedule O and describe any steps taken to undergo such audits. 3b

Form 990 (2022)
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Software ID:
Software Version:
EIN: XX-XXXXXXX
Name: PRICE TOWER ARTS CENTER INC

11410459.1.54

Form 990 (2022)

Form 990, Part III, Line 4a:

PRICE TOWER ARTS CENTER PRESERVES AND INTERPRETS FRANK LLOYD WRIGHT'S PIONEERING EXPERIMENT IN SKYSCRAPER DESIGN. THE ARTS CENTER OFFERS A
VARIETY OF FORMS OF INTERPRETATION FOR VISITORS TO LEARN FROM WRIGHT'S DESIGN. ITS ARCHIVES ARE OPEN TO THE PUBLIC FOR RESEARCH THROUGH THE
ARCHITECTURE STUDY CENTER. PRICE TOWER ARTS CENTER PROVIDES YEAR-ROUND EXHIBITIONS AND EDUCATIONAL PROGRAMS FOR ALL AGES,

a . . . OMB No, 1545-0047
S;-HEDULE A Public Charity Status and Public Support
(rm 990) Complete if the organization is a section 501(c)(3) organization or a section 2022
v 4947(a)(1) nonexempt charitable trust.
Department of the Treasury » Attach to Form 990 or Form 990-EZ. .
intemal Revenue Service » Go to www. irs.gov/Form990 for instructions and the latest information. nal id ene
fas) xscet CL

Name of the organization Employer identification number

PRICE TOWER ARTS CENTER INC

XX-XXXXXXX

Mure Reason for Public Charity Status (All organizations must complete this part.) See instructions.
The organization is not a private foundation because it is: (For lines 1 through 12, check only one box.)

1 [J Achurch, convention of churches, or association of churches described in section 170(b)(1)(A)(i).

2 []_ Aschool described in section 170(b)(1){A)(ii). (Attach Schedule E (Form 990).)

3 [ Ahospital or a cooperative hospital service organization described in section 170(b)(1)(A)(iii).

4 [] Amedical research organization operated in conjunction with a hospital described in section 170(b)(1)(A)(iii). Enter the hospital's
hame, city, and state:

5 [1 An organization operated for the benefit of a college or university owned or operated by a governmental unit described in section 170
(b)(1)(A)(iv). (Complete Part II.)

[J Afederal, state, or local government or governmental unit described in section 170(b)(1)(A)(v).

7 An organization that normally receives a substantial part of its support from a governmental unit or from the general public described in

section 170(b)(1)(A)(vi). (Complete Part II.)

(CJ Acommunity trust described in section 170(b)(1)(A)(vi). (Complete Part II.)

(J An agricultural research organization described in 170(b)(1)(A)(ix) operated in conjunction with a land-grant college or university or a
non-land grant college of agriculture. See instructions. Enter the name, city, and state of the college or university:

10 [] An organization that normally receives: (1) more than 331/3% of its support from contributions, membership fees, and gross receipts
from activities related to its exempt functions—subject to certain exceptions, and (2) no more than 33 1/3% of its support from gross
investment income and unrelated business taxable income (less section 511 tax) from businesses acquired by the organization after June
30, 1975, See section 509(a)(2). (Complete Part III.)

11 []_ An organization organized and operated exclusively to test for public safety. See section 509(a){4).

12. [] Anorganization organized and operated exclusively for the benefit of, to perform the functions of, or to carry out the purposes of one or
more publicly supported organizations described in section 509(a)(1) or section 509(a)(2). See section 509(a)(3). Check the box
on lines 12a through 12d that describes the type of supporting organization and complete lines 12e, 12f, and 12q.

a [] Type I. A supporting organization operated, supervised, or controlled by its supported organization(s), typically by giving the supported
organization(s) the power to regularly appoint or elect a majority of the directors or trustees of the supporting organization. You must
complete Part IV, Sections A and B.

b (1 Type II. A supporting organization supervised or controlled in connection with its supported organization(s), by having control or
management of the supporting organization vested in the same persons that contro! or manage the supported organization(s). You
must complete Part IV, Sections A and C.

¢ [J] Type III functionally integrated. A supporting organization operated in connection with, and functionally integrated with, its
supported organization(s) (see instructions). You must complete Part IV, Sections A, D, and E.

d []_ «Type III non-functionally integrated. A supporting organization operated in connection with its supported organization(s) that is not
functionally integrated. The organization generally must satisfy a distribution requirement and an attentiveness requirement (see
instructions). You must complete Part IV, Sections A and D, and Part V,

e  [] Check this box if the organization received a written determination from the IRS that it is a Type I, Type II, Type III functionally
integrated, or Type III non-functionally integrated supporting organization.

f Enter the number of supported organizations

9 Provide the following information about the supported organization(s).

(i) Name of supported (ii) EIN (iii) Type of (iv) Is the organization listed (v) Amount of (vi) Amount of
organization organization in your governing document? | monetary support | other support (see
(described on lines (see instructions) instructions)
1- 10 above (see
instructions))
Yes No

Totai
For Paperwork Reduction Act Notice, see the Instructions for Cat. No. 11285F Schedule A (Form 990) 2022

Form 990 or 990-EZ.
Schedule A (Form §9S@259-10088-T Document 91-3 Filed in USBC ND/OK on 04/15/25 Page 19,05 16

Support Schedule for Organizations Described in Sections 170(b)(1)(A)(iv) and 170(b)(1)(A)(vi)
(Complete only if you checked the box on line 5, 7, or 8 of Part I or if the organization failed to qualify under Part ITI.
If the organization failed to qualify under the tests listed below, please complete Part III.)

ection A. Public Support
Calendar year

(or fiscal year beginning in) » (a) 2018 (b) 2019 (c) 2020 (d) 2021 (e) 2022 (f) Total

1 Gifts, grants, contributions, and
membership fees received. (Do not 248,185 87,822 731,515 260,676 344,861 1,673,059
include any “unusual grant.") .

2 Tax revenues levied for the
organization's benefit and elther paid
to or expended on its behalf.

3 The value of services or facilities
furnished by a governmental unit to
the organization without charge..

4 Total. Add lines 1 through 3 248,185 87,822 731,515 260,676 344,864 1,673,059

5 The portion of total contributions by

each person (other than a

governmental unit or publicly

supported organization) included on
line 1 that exceeds 2% of the amount

shown on line 11, colurnn (f).

da 44;10459.1

6 Public support. Subtract line 5 from 1,673,059
line 4.
Section B. Total Support
Calendar year
(or fiscal year beginning in) P (a) 2018 (b) 2019 (c) 2020 (d) 2024 (e) 2022 (f) Total
7 Amounts from line 4, . 248,185 87,822 731,515 260,676 344,861 1,673,059
8 Gross income from interest,
dividends, payments received on 78,746 61,945 62,190 45,381 73,030 321,292
securities loans, rents, royalties and
income from similar sources.
9 Netincome from unrelated business
activities, whether or not the
business is regularly carried on.
10 Other income. Do not include gain or
loss from the sale of capital assets
(Explain in Part VI.),
11 Total support. Add lines 7 through 1.994.354
10 a f
12 Gross receipts from related activities, etc. (see instructions). . 2. 1. we ee 12 1,716,918
13 First 5 years. If the Form 990 is for the organization's first, second, third, fourth, or fifth tax year as a section 501(c)(3) organization, check
this box andstop here... ee ee ee ee ee ee ee ee ee RO
Section C. Computation of Public Support Percentage
14 Public support percentage for 2022 (line 6, column (f) divided by line 11, column (f)). . 2... 0.4. 14 83.890 %
15 Public support percentage for 2020 Schedule A, Part II, line 14... .. 15 85.320 %
16a 33 1/3% support test—2022. If the organization did not check the box on line 1 13, “and line 14 is 33 1/3% or more, check this box
and stop here. The organization qualifies as a publicly supported organization. . . oe mY
b 33 1/3% support test—2021. If the organization did not check a box on line 13 or ‘t6a, "and ‘line 15 is 33 1/3% or more, check this
box and stop here. The organization qualifies as a publicly supported organization. . . . cee ee PO

17a 10%-facts-and-circumstances test—2022. If the organization did not check a box on line 13, 16a, « or “16b, and line 14 is 10% or more,
and if the organization meets the "facts-and-circumstances" test, check this box and stop here. Explain in Part VI how the organization

meets the “facts-and-circumstances" test, The organization qualifies as a publicly supported organization. . . . tea ee BO
b 10%-facts-and-circumstances test—2021, If the organization did not check a box on line 13, 16a, 16b, or 17a, and line 15 is 10% or
more, and if the organization meets the "facts-and-circumstances” test, check this box and stop ‘here. Explain in Part VI how the organization

meets the "facts-and-circumstances” test. The organization qualifies as a publicly supported organization. . . tee ee yO.
18 Private foundation. If the organization did not check a box on line 13, 16a, 16b, 17a, or 17b, check this box ands see
instructions 6. ee es coe PO

“Schedule A (Form 990) 2022
